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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE

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UNITED sTATEs oF AMERICA %?§§§ij§‘ D…_ CT
W.o. or-' TN. MEM'PHIS
v. NO. 04-20467

CHAUNTAIN FLEMING and
ANDRE HUGHES

Judge Donald

 

ORDER REFUNDING CASH APPEARANCE BOND

 

The records of this case show that the defendant has complied with the requirements of

her release and the orders of the court. Accordingly, pursuant to motion of the defendant, it is

ORI)ERED that the $1,000 cash bond minus a payment of a $100 fine be refunded to Martha

Boyland, the payee of the $],000 cash.

This April 12 , 2005.

  

Bernice ouie Dona d, Judge

 

United States District Court

Approved:

THOMASON, I-IENDRIX, HARVEY,
JOHNSON & MITCHELL, PLLC

   

By: gmac/ug » `

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TERRILL L. HARRIS
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`/Lo aine Craig

Assistant U. S. Attorney

 
   

 

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UNITED sATE DISTRICT COURT - WTERN DISTRCT oFTENNESSEE

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This notice confirms a copy of the document docketed as number 45 in
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Honorable Bernice Donald
US DISTRICT COURT

